             Case 1:16-cv-00545-JL Document 35 Filed 10/02/17 Page 1 of 1



                                       UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW HAMPSHIRE


Scottsdale Capital Advisors Corp.

                    v.
                                                                          Case No. 16-cv-00545-JL
The Deal, LLC et al



                                           CLERK’S CERTIFICATE TO
                                          CIRCUIT COURT OF APPEALS

          I, , Deputy Clerk of the United States District Court for the District of New Hampshire, do hereby certify
that the following documents constitute the abbreviated record on appeal to the First Circuit Court of Appeals:

         DOCUMENTS NUMBERED: 31, 32, 33, 34, 35

         The Clerk’s Office hereby certifies the record and docket sheet available through ECF to be the certified
record and the certified copy of the docket entries.

          The following SEALED documents will be forwarded to the Circuit Court of Appeals with a copy of this
certificate:

         SEALED DOCUMENTS NUMBERED: 29, 30


                                                                IN TESTIMONY WHEREOF, I hereunto set my
                                                                hand and affix the seal of said Court, at Concord, in
                                                                said District, on this day, October 2, 2017

                                                               DANIEL J. LYNCH, Clerk
                                                               '$1,(/-/<1&+, Clerk
                                                               By: ____________________________

                                                               By: /s/ Charli M. Pappas, Deputy Clerk
                                                                        Oct 02, 2017

cc:       George R. Moore, Esq.
          Steven H. Frackman, Esq.
          Charles J. Harder, Esq.
          Christopher D. Hawkins, Esq.
          Jordan Susman, Esq.
          Elizabeth A. McNamara, Esq.
          John M. Browning, Esq.
          Steven M. Gordon, Esq.
